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IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF

TENNESSEE
WESTERN DIVISION
CHARLES'I'ON SHIPP
PLAINTIFF
vs. NO: 2:10~cv~02598~STA~dkv

VISIONS SPORTS BAR & GRILL, INC.,
MARIA LOPEZ, IVIII{E MURFIK,

THE CITY OF MEMPHIS, TENNESSEE,
JIMMY HUDSON, ALKI KING,

NOEL JACKSON, and JULIAN

DEFENDANTS

 

PLAIN'I`IFF’S SECOND M()TI()N FOR DEFAULT .]UDGMENT AGAINS'I` TI~IE
DEFENDANTS, VISIONS SPORTS BAR & GRILL, INC AND MIKE FURFIK OR
MURFIK

 

Cornes Now the Plaintiff, Charleston Shipp, by and through undersigned
Counsel pursuant to Rule 55 of the Federal Rules of Civil Procedure and files herewith
his Second Motion for Default Judgment against Visions Sports Bar & Grill, Inc. and
l\/Iike Furfik or Mike Murfik and Would show this I-lonorable Court the following:

1. This Court found that Plaintiff filed this Civil Action on August 16, 2010 (DE
24).

2. The Clerk of the Court entered default against Visions Sports Bar 8c Grill,
Inc., and Mike Fux“fik or Murfik on March 17, 2011. (I)E 29).

3. The Plaintiff sustained medical hills of approximately $90,000.00,
experienced intense pain and Continues to experience pain, has a large scar, and has

experienced nightmares and other mental injuries, and has sustained property

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damages as a proximate result of the conduct of Visions Sports Bar and Grill, Inc. and
Mike Furfik or Murfik. See the Declaration of Charleston C. Shipp attached
herewith as Exhibit 1.

WHEREFORE PREMISES CONSIDERED, the Plaintiff requests the Court to
enter Default Judgment in his favor against Vision Sports Bar and Grill, lnc. and Mike
Furfik or l\/Iurfik in the amount of ONE MILLION FIVE HUNDRED THOUSAND
DOLLARS ($1,500,000.00) With interest accruing at the judicial rate and costs.

Respectfully submitted,

/S/DRAYTON D. BERKLEY

DRAYTON D. BERKLEY, ESO. (022601)
The Businessmen’s Club

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i.VIernphis, Tennessee 38103

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And
PRECIOUS MOORE COLEMAN (022943)
100 l\Torth ].V£ain Street, Ste 2601
Mernphis, Tennessee 38103

Telephone: 901-544~8090

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CERTIFICATE OF SERVICE 8: CONSULTATION

The undersigned hereby certifies a copy of the foregoing has been served upon

counsel for the City of Mernphis and other Defendants as set forth below The City

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had been dismissed by Order of the Court dated March 2, 201 1:

Mr. Zayid A. Saleem
Assistant City Attorney

125 North Main Ste Room 336
Memphis, TN 38103

Via ECF

Mr. Mike Murfik

Individually and d/b/a Club Errvy
4069 Lamar Avenue

Memphis, TN 38118

Via US l\/Iail

Visions Sports Bar and Grill, Inc
Individually and d/b/a Club Envy
4069 Lamar Avenue

Memphis, TN 38118

Via US Mail

This the 13th day of May 2011.

/s/ Dravton D. Berklev
DRAYTON D. BERI{LEY, ESO.

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